          Case 1:17-mc-03118-BAH Document 1 Filed 11/27/17 Page 1 of 9




                          THE UNITED STATES DISTRICT COURT
                            FOR TⅡ E DISTRICT OF COLUⅣ IBIA

 IN THE ⅣlATTER OF THE UNITED STATES
 V.BROADUSJOHNSON                                         DC Superior Court Case No。 2016 CF2
                                                          6843
                                                          ⅣIisc No.


          UNITED STATES' MOTION FOR THE ISSUANCE OF A SUBPOENA
                         PURSUANT TO 28 U.S.C. Q1783

        The United States, by and through its attorney, the United States Attorney for the District

of Columbia, and, pursuant to 28 U.S.C. $1783, moves for the issuance of a subpoena to

Kimberly Pezzat, requiring Ms. Pezzat's appearance as a witness at the re-trial of the above-

captioned case. Ms. Pezzat is a national of the United States who is in a foreign country, namely,

Japan. For the reasons stated in the attached Memorandum of Law,Ms.Pezzat's testimony is

necessary in the interest ofjustice.

       Because the Motion can be easily resolved based on the pleadings, the government does

not believe that oral argument is necessary.

                                               Respectillly sublnitted,


                                               」ESSIE   K.LIU
                                               UNITED STATES ATTORNEY
                                               D.C.Bar No.472845




                                               ⅣIONICA TRIGOSO
                                               LAUttN BttSSACK
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           Case 1:17-mc-03118-BAH Document 1 Filed 11/27/17 Page 2 of 9




                          THE UNITED STATES DISTRICT COURT
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 V.BROADUSJOHNSON                                          DC Superior Court Case No.2016 CF2
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            GOVERNMENT'S PIEPIORANDUM OF LAW IN SUPPORT OFITS
                   Ⅳ10T10N FOR THEISSUANCE OF A SUBPOENA
                                 PURSUANT T0 28 UoS.C.§ 1783

     The govcment is moving this Court for an Ordcr authoHzing the issuance of a subpoena

rcquinng thc attcndancc of a United Statcs national at the re―   t五 alin   thc above Supe五 or Court for

the]DistHct of Columbia mattcr.Thc witncss is a l」 nitcd States citizcn presently living in Japan.

Although partics to c五 Ininal cases nollllally do not need the intcⅣ cntion ofthe court in order to


issuc tnal subpoenas, such is not thc case with U.S. nationals living abroad. Instead, such

subpoenas are governcd by the Walsh Act,28 UoS.C.§ 1783 and§ 1784.

I.    The Walsh Act

     First cnacted in 1 926,the Walsh Act,in its present fbllll,authoHzcs federal courts to compcl

the attcndance of Unitcd States nationalsiliving abroad.28U.S.C.§          1783(a).The walsh Act also

contains speciflc autho五 zation and pcnaltics fOr contempt of any subpocna issued pursuant to


§1783.28U.S.C.§ 1784.In Blackmcr v.United Statcs,284U.S.421(1932),thc Supremc Court

uphcld thc Walsh Act,■1ling that(3ongress posscsscS thC autho五 ty to requirc the attendance of

citizcns living abroad to``suppOrt the adnlinistration ofjusticc by attending its courts and giving


his testimony whenever hc is propcrly sulninoned."Id.at 438.



lA"national"is"(A)a citiZCn Ofthe United Statcs,or(B)a pcrSOn who,though not a citizen of
thc United States,owes pcllllanent allcgiancc to the United States."8U.S.C.§        1101(a)(22).Upon
inforlnation and belict Kimberly Pezzat is a citizcn ofthc United States.
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            Case 1:17-mc-03118-BAH Document 1 Filed 11/27/17 Page 3 of 9




       The Walsh Act, 28 U.S.C. $1783(a) provides:

      (a) A court of the United States may order the issuance of a subpoena requiring the
          appearance as a witness before it, or before a person or body designated by it, of a
          national or resident of the United States who is in a foreign country, or requiring the
          production of a specified document or other thing by him, if the court finds that particular
          testimony or the production of the document or other thing by him is necessary in the
          interest ofjustice, and, in other than a criminal action or proceeding, if the court finds, in
          addition, that it is not possible to obtain his testimony in admissible form without his
          personal appearance or to obtain the production of the document or other thing in any
          other manner.

      Therefore, the main question in the issuance of any such subpoena in a criminal case2 is

whether the witness' proposed appearance is "necessary in the interest ofjustice."

II.     IGnqberly Pezzat's Testimony is "Necessary in the Interest of Justice"

      In the above case, witness Kimberly Pezzat is a necessary - indeed critical    - witness.   In fact,

because this case was previously tried before a jury, the Government knows the importance and

extent of Ms. Pezzat's testimony. Ms. Pezzat, now a retired Metropolitan Police Department

detective, was then the lead investigator in the case. She responded to the scene, observed and

spoke with the victim and two eyewitnesses, obtained descriptions of the alleged suspects from

the eyewitnesses, and conducted identification procedures with the eyewitnesses. Former

Detective Pezzat testified in the first trial, which commenced on June 5, 2017 and resulted in a

mistrial on June 14,2017 . Her testimony about the eyewitnesses' statements of identification was

critical to the issue of the identity of the suspects.

      The evidence at the first trial established that on May 6, 2016 at approximately 3:00 a.m., two

suspects assaulted and robbed the complainant, Jacob Jochum, near the 2000 block          of   1Sth Street


NW, Washington, D.C. The two suspects punched Mr. Jochum in the face and dragged him into



2
 As the statute makes clear, in civil cases, there is the additional requirement that the movant must
show that it is not possible to obtain the testimony through alternative means.
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          Case 1:17-mc-03118-BAH Document 1 Filed 11/27/17 Page 4 of 9




an alley where they continued to punch and kick him. The suspects then stole the Mr. Jochum's

wallet. Two eyewitnesses observed the offense from across the street and approached the two

suspects in order to end the assault and help   Mr. Jochum, who they did not know. As the witnesses

approached, the suspects stopped assaulting Mr. Jochum and fled on foot, running passed both

eyewitnesses. One eyewitness chased the suspects and the other eyewitness called 911, providing

a description   of the suspects and Mr. Jochum.

    A few minutes after the dispatcher first relayed the information from the 911 call,     Sergeants

Hallahan and Beirne were canvasing the 1700 block of U Street, approximately two blocks away

from the location of the offense, when they observed two individuals who matched the descriptions

of suspects walking down the street. The sergeants stopped the individuals and confirmed again

that the individuals matched the description given by the eyewitnesses to the assault.

    Detective Kimberly Pezzatresponded to the scene to locate the victim and eyewitnesses. Upon

observing the victim, Detective Pezzat encouraged him to go to the hospital to be treated for his

injuries, as he was bleeding heavily from the nose and she believed that his nose was broken and

that his injuries required immediate medical attention. Detective Pezzat also spoke with the

eyewitnesses on the scene and obtained descriptions        of the suspects. When the     eyewitnesses

indicated that they would be able to identify the suspects if they saw them again, Detective Pezzat

conducted independent show-up identification procedures with those eyewitnesses and obtained

their statements of identification. Both eyewitnesses positively identified the defendant Broadus

Johnson, and co-defendant George Brooks, as the two men who they saw punching and kicking

the victim. Based on those identifications, the defendants were arrested and transported to the

Third District for processing.




                                                   4
            Case 1:17-mc-03118-BAH Document 1 Filed 11/27/17 Page 5 of 9




      The complaining witness, Mr. Jochum, was transported to the hospital and treated for a broken

nose and minor lacerations.

      Based on the facts above, the Defendant Johnson and his co-defendant were indicted with one

count of Robbery, one count of Assault with Intent to Commit Robbery, and one count of Assault

with Significant Bodily Injury.

      On June 5,2017, the jury trial commenced before the Honorable Judge Ronna Beck in the

Superior Court for the District of Columbia. On June 14, 2017, the jury returned their partial

verdict. Defendant Johnson was acquitted of Robbery, but the jury was hung on the other two

charges, of Assault with Intent to Commit Robbery and Assault with Significant Bodily Injury,

resulting in a mistrial.3

      After the partial verdict, the Govemment informed the defense that it was planning on a re-

trial for Defendant Johnson on the remaining two charges and that for the re-trial, it intended to

use either the sworn transcript of DetectivePezzat's testimony from the first trial or live video

conferencing because Detective Pezzat would be residing outside of the United States at the time

of the re-trial and would be unable to come back to the United States within the next year.

      As of June 18,20l7,just a few days after the first trial ended, Detective Pezzat has been

residing in Japan with her partner and their two young children. As a non-military U.S. citizen,

Detective Pezzat moved to Japan because of her partner's military career. Her partner is working

full-time for the Army at the Okinawa military base and there is a possibility that she will be

deployed out of Japan to other countries in the region within the next year. Detective Pezzat is the

primary caregiver for her children, both of whom are under the age of four.




3
    Co-defendant Brooks was acquitted on all charges.

                                                 5
            Case 1:17-mc-03118-BAH Document 1 Filed 11/27/17 Page 6 of 9




       A flight from Tokyo,   Japan to Washington, DC is approximately 14 hours. Including layovers

and the time difference, the total travel time from Tokyo to Washington, D.C. is over 20 hours.      At

this time, Detective Pezzat has no plans to visit the United States within the next year and is not

willing or able to retum for a trial due to her family obligations. Detective Pezzat indicated

however, that she is willing to testify via live video conferencing. The Government does not have

the ability to serve Detective Pezzat with a subpoena because she is out of the Superior Court's

jurisdiction.

       After leaming that Detective Pezzat would not be willing or able to return to testify for the re-

trial, the Government informed the defense and the Court of the issue of her unavailability and

sought alternate solutions, including her live video conferencing testimony, as well as a bench

trial, both options that the defense has rejected.a Subsequently, a new trial date of May 2,2018

was selected.

       The Government now moves this Court for an Order authorizing the issuance of a subpoena

requiring the attendance of li4s.Pezzat at the re-trial in the above matter,    if this Court finds that

her live, in-person testimony is necessary in the interest ofjustice.

ilI.     Conclusion

       Given the importance of Ms. Pezzat's testimony, the United States asserts that her testimony

is "necessary in the interest ofjustice." Therefore, the govemment requests that this Court order




4
  Post-trial the government offered the defendant a plea offer of one count of simple assault and
one count of attempted theft in the second degree. The defendant rejected this plea offer.
Additionally, the government has proposed to dismiss the felony charges and reduce the two
charges to misdemeanors if the defense would waive Detective Pezzat's live testimony. The
misdemeanors would be a bench trial in front of this Court, who has already had the opportunity
to observe Detective Pezzat testify in the former tnal and, therefore, has been able to evaluate her
demeanor and credibility. The defendant has rejected this offer.
         Case 1:17-mc-03118-BAH Document 1 Filed 11/27/17 Page 7 of 9




Kimberly Pczzat attendant at t五 alcommencing May 2,2018,and continuing until■ ■
                                                                              rther order of

this Court.A proposed(Drder5 and Subpoena are attachcd.

                                             Respecti11ly sublnitted,


                                              JESSIE K.LIU
                                              UNITED STATES ATTORNEY
                                              DoC.Bar No.472845




                                              ⅣIONICA TRIGOSO
                                              LAUREN BMSSACK
                                              ASSISTANT UNITED STATES ATTORNEYS
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                                              Washington,D.C.20530
                                              (202)252-7768
                                              Monica.THgoso@uSdは gOv




5
  Section 1783(b) directs that the order authoizingthe issuance of the subpoena state the estimated
amount of the travel and attendance expenses. Assuming a 7-day stay for the witness, the
government has sought to obtain a good faith estimate of expenses, which, as of the date of this
filing, break down as follows:


                  Roundtrip Airfare for one person l'-o^oo
                                                           (up to 4'320 total     if
              '                                    3 people are traveling)
              .   Per   Diem                          -   $196 (28.00 per day)
                               Total                  -   $1,636-$4,516
              . Hotel                                 -   $1771 ($253 pernight)
              . Other expenses (transp., etc.)        -   $150


                  TOTAL                               … $3,557-$6,437



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           Case 1:17-mc-03118-BAH Document 1 Filed 11/27/17 Page 8 of 9




                            TⅡ E   UNITED STATES DISTRICT COURT
                              FOR TⅡ E DISTRICT OF COLUPIIBIA

 IN THE ⅣIATTER OF THE UNITED STATES
 VoBROADUS JOHNSON                                           DC Superior Court Case No. 2016 CF2
                                                             6843

                                                             ⅣIisc N


                                                 ORDER

    This matter came to be heard on the United States'Motion for the Issuance of a Subpoena
Pursuant to 28 U.S.C. $1783. After due consideration, this Court finds that:

    l.   Kimberly Pezzat is   a national   of the United States who is currently in a foreign country;
         and

    2.   Kimberly Pezzat's testimony is necessary in the interest ofjustice.

Therefore, it is hereby:

                             ORDERED, ADJUDGED AND DECREED

    1.   The United States is authorized to issue a trial subpoena to Kimberly Pezzat directing her
         appearance before this Court on May 2,2018 at 9:30am, and continuing until further
         order of the Court;

   2.    Service of the subpoena shall be effected in accordance with the provisions of the Federal
         Rules of Civil Procedure relating to service of process on a person in a foreign country;
         and

    3. The United States shall pay for the travel and attendance     expenses of Kimberly Pezzat
         and possibly her   two children, which at the time of this Order are estimated to be $6,437.

                                   Per Order,


                                   Deputy Clerk
ENTER:

BERYL A.HOWELL
United States Distnct ChiefJudge


DATE:

                                                     8
                   Case 1:17-mc-03118-BAH Document 1 Filed 11/27/17 Page 9 of 9

                     Superior Court of the District of Columbia
                                               CRIⅣ IINAL DIVIS10N
                                                    SUBPOENA
UNITED STATES

                            VS.                                        Case No.2016CF2006843

 BROADUSJOHNSON
To: KINIIBERLY PEZZAT


YOU ARE HEREBY COMMANDED:
        To appear before thc CHIninal lDivision Courtroon1 310          of thc   Superior Court of the District of
Columbia,500 1ndiana Avenuc,Washington,D.C.,onthe 05/02/2018, at                  9:00am      as a witness   for
 THE GOVERNⅣ IENT
図   and pleascbHng ttOPER IDENTIFICAT10N AND SUBPOENA.


and do not depart from the Court without leave thereof.

       WITNESS, the Honorable Chief Judge of the Superior Court of the District of Columbia, and the seal              of
            2l day of November, 2017 .
said Court this

TIMOTHY BEIRNE                             DISTRICT 3 (MPD)
       Officer in Charge                        District

 Lauren Bressack
                                                                                    HE5 0.McCINLE■   」       M,C'ADR
       Attorney for Govemmellt/Defendant

Phone No.(202)252-7822

  uthorization as required by D.C. Code $ 14-307 and Brown v. U.5., 567 A.2d 426 (D.C. 1989) , is hereby
 iven for issuance of subpoena for medical records.
                                                           Date                             Judge


Ш   TURN ON TⅡ ISSUBPOENAIS REQUIRED ON OR BEFORE TⅡ IS DATE:
n I hereby certify that I have personally served, or have executed as shown in "REMARKS,' the above
  subpoena on the individual at the address below.
         Name and Title oflndividual Served                  Address (If different than shown above)



n I hereby certify that, after diligent investigation, I am unable to locate the individuals, company,
corporation, etc., named in above subpoena for the reason(s) as shown in "REMARKS'.
         Date(s) of Endeavor                                 Date and Time of Service


 REMARKS                                                     Signature of Title of Server
